 Case 1:20-mj-02247-CMM Document 4 Entered on FLSD Docket 02/19/2020 Page 1 of 1
  %           dA                uo                                    -
                                         (M INUTE ORDER                                                           p-g- w

                                M agistrate Judge Chris M .M cA liley
                    AtkinsBuildingCou/house-6th Floor                       Date
                                                                               ':2/18/2020 Time:1:30pm .                   .

Defendant: HectorCabrera Fuentes            J#: 20862-104 Case #:           -* '                  -
AUSA:                %                               Att                                              e.
                                                        orney:               .-
Violation: ForeignAgentRegistrationAct                    Surr/Arr t ate:2/17/2020                     YOB:1985
Proceeding: initialAppearance                                   CJA Appt:
Bond/PTD Held:C Yes C No                 RecommendedBond:
Bond Setat:                                                     Co-signed by:
  C Surrenderand/ordo notobtain passports/traveldocs                 Language:

      ReporttoPTSas directed/or         x'saweek/monthby             Disp sition:                 x
      phone:      x'saweek/month in person
      Random urine testing by Pretrial
  C Servi
        ces                                                                                                *
     Treatm entas deemed necessary                                                       .
                                                                                                           v'

  r Refrainfrom excessiveuseofalcohol                                                                             .


 Xr Participateinmentalhealthassessment&treatment
  T Maintainorseekfull-timeem ployment/education                                    *
 C Nocontactwithvictims/witnesses,exceptthroughcounsel
 C Nofirearms                                                               4       .


 C Nottoencumberproperty
 C Maynotvisittransportation establishments
 T Home Confinement/ElectronicMonitoringand/or                                                        x.
     Curfew             pm to             am,paid by
     Allowances:M edicalneeds,courtappearances,attorney visits
 T religious,em ployment                                         ,                  .
 C Travelextendedto:
                                                                      Time from todayto                         excluded
 C Other:                                                             from SpeedyTrialClock
NEXT COURTAPPEAM NCE    oate:             Time:        Judge:                                Pl
                                                                                              ace:
 eportRE Counsel:                 '        '
                                           --<
PTD BondHearing:           .                                            21                    D
Prelim/Arraigl% rRemoval: '
StatusConference RF:
                    -                                                                                                 ''       -'

D.A.R.ï%-
        .4 3.t3 /)                                          Timeincourt:
                                 s/chrisM.McAliley                                      Magistrateludge
              f
              J                       Qa - PW            Qdco                   .
